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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                   Plaintiff,
                                             Case No. 15-20283
 vs.                                         HON. GEORGE CARAM STEEH

 SVETLANA SRIBNA, et al.,

               Defendants.
 ___________________________________/

           ORDER GRANTING IN PART AND DENYING IN PART
             DEFENDANT’S MOTION FOR PRODUCTION OF
              GOVERNMENT’S WITNESS LIST (DOC. 149)

       This matter is presently before the Court on defendant Svetlana

 Sribna’s Motion for Production of the Government’s Witness List. (Doc.

 149). The Motion is joined by defendants Jennifer Franklin, Rodney Knight,

 Tara Jackson, Sashanti Morris, Anna Fradlis, and Maryna Pitsenko. Sribna

 requests that a list of Government witnesses be produced no later than

 thirty days prior to the start of trial. For the reasons stated below, Sribna’s

 motion is GRANTED IN PART AND DENIED IN PART.

       The Government does not need to reveal, before trial, the names of

 all witnesses who will testify unfavorably to the defense. Weatherford v.

 Bursey, 429 U.S. 545, 559-60 (1997). Local court practice, however,

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 requires parties to disclose their witness lists to the Court and opposing

 counsel one day before trial. The Court, therefore, HEREBY ORDERS the

 Government to provide opposing counsel with a list of witnesses one day

 before trial.

       IT IS SO ORDERED.

 Dated: July 31, 2017


                                           s/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE


                                CERTIFICATE OF SERVICE

                 Copies of this Order were served upon attorneys of record on
                      July 31, 2017, by electronic and/or ordinary mail.

                                    s/Marcia Beauchemin
                                        Deputy Clerk




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